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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )                 8:14CR103
                                                )
       vs.                                      )
                                                )
JAMES ALLEN KAPPLER, JR.,                       )                   ORDER
ALICIA WEIR,                                    )
                                                )
                      Defendants.

      This matter is before the court on defendant Alicia Weir’s Unopposed Motion to
Continue Trial [74]. Counsel needs additional time to explore plea negotiations. The
defendant lives out of state making communication more difficult. The defendant shall comply
with NECrimR 12.1(a). For good cause shown,

       IT IS ORDERED that the Unopposed Motion to Continue Trial [74] is granted, as
follows:

       1. The jury trial , for both defendants, now set for June 2, 2015 is continued to
          July 14, 2015.

       2. Defendant shall file a waiver of speedy trial as soon as practical.

        3. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of justice
will be served by granting this continuance and outweigh the interests of the public and the
defendant in a speedy trial. Any additional time arising as a result of the granting of this
motion, that is, the time between today’s date and July 14, 2015, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act.
Failure to grant a continuance would deny counsel the reasonable time necessary for effective
preparation, taking into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(A) &
(B)(iv).

       DATED May 20, 2015.

                                     BY THE COURT:

                                     s/ F.A. Gossett, III
                                     United States Magistrate Judge
